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                                   STATEMENT OF FACTS

       Your affiant, Kyle G. Metz, is a Task Force Officer assigned to FBI Cincinnati’s Joint
Terrorism Task Force. In my duties as a Task Force Officer, I investigate crimes of International
and Domestic Terrorism. Currently, I am tasked with investigating criminal activity in and around
the U.S. Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        During the FBI’s investigation of the events of January 6, 2021, the FBI obtained
information that a device associated with a Google email account jaredk********@gmail.com
and a telephone number ending with -2605 was present at the U.S. Capitol on January 6, 2021. 1
Your affiant began investigating the subscriber and user of this email account and telephone
number.

        Records from Google listed Jared Kastner as the subscriber of the account and showed that
a device associated with his email and Google accounts identified above was within the Capitol
building from approximately 2:14 p.m. to 2:52 p.m. The FBI has reviewed the available
information to determine whether there was any evidence that devices associated with this address
could have lawfully been inside the U.S. Capitol building on January 6, 2021. The information for
this address did not match any information for persons lawfully within the Capitol. Accordingly,
your affiant believes that the individual possessing this device was not authorized to be within the
U.S. Capitol building on January 6, 2021. Your affiant then used this information to physically
identify Kastner.

        Agents obtained a copy of Kastner’s driver’s license photograph and compared this
photograph to images and videos from the Capitol Attack on January 6, 2021. Your affiant
identified Kastner, by comparing his driver’s license image to publicly available photographs from
the events of January 6, 2021. Your affiant specifically identified Kastner in the image below using
this method, and the two are consistent. Kastner is wearing a black jacket, tan pants, and boots.
The arrow in the image below points to Kastner.




1
  Google estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s)
of the data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where
Google estimates that its location data is accurate to within 10 meters, Google assigns a “maps display
radius” of 10 meters to the location data point. Finally, Google reports that its “maps display radius” reflects
the actual location of the covered device approximately 68% of the time.

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       In addition, on May 24, 2021, your affiant interviewed Kastner’s former supervisor, W-1.
W-1 was shown the two images below of Kastner from the events at the U.S. Capitol on January
6, 2021. W-1 positively identified the person in the photographs as Kastner.




        Pursuant to a second search warrant served on Google for records related to Kastner’s
Gmail address and telephone number identified above, your affiant located a photograph of
Kastner, three days before the January 6, 2021, Capitol attack—on January 3, 2021, in which he
has the same distinctive facial hair as in the stills above from January 6, 2021. The image is below.




       I also reviewed records obtained from T-Mobile for the account with the telephone number
ending with -2605. These records show that the account was owned by an individual believed to
be a family member of Jared Kastner based on their same last name and same address. For the
timeframe of December 1, 2020, through January 20, 2021, a phone number ending in -9371 was
one of Kastner’s top-ten most frequent contacts. Legal records from Verizon show that Luke
Faulkner is the subscriber of the account a with the phone number ending -9371.


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       The same search warrant mentioned above, served on Google for records related to
Kastner’s Gmail address and telephone number, returned a photograph of a man wearing jeans and
a black jacket with the Washington Monument visible in the background. The photograph,
presented below, was taken on January 6, 2021. Your affiant has compared this image to the Ohio
driver’s license photograph of Faulkner, which the FBI obtained after learning that Faulkner was
a top-ten contact of Kastner, and determined that the two are consistent.




        According to records obtained through a search warrant served on Verizon, during the riot,
the cellphone with the telephone number ending in -9371 and subscribed to Faulkner was identified
as having utilized a cell site consistent with providing service to a geographic area that included
the interior of the United States Capitol building. The FBI has reviewed the available information
to determine whether there was any evidence that devices associated with this address could have
lawfully been inside the U.S. Capitol building on January 6, 2021. The information for this address
did not match any information for persons lawfully within the Capitol. Thus, your affiant believes
that the individual possessing this device was not authorized to be within the U.S. Capitol building
on January 6, 2021. The subscriber records provided by Verizon also show that Faulkner’s address
is on Timber Trail in Blanchester, Ohio.

       On August 3, 2021, a FBI agent conducted surveillance at the Timber Trail residence.
While driving by the residence, the agent saw a white male with long hair and a beard entering a
vehicle in the driveway. The agent, having reviewed Faulkner’s Ohio driver’s license photograph,
determined that it was the same person.

                          Kastner and Faulkner Inside the U.S. Capitol

       Your affiant subsequently reviewed surveillance footage from January 6, 2021, from inside
the U.S. Capitol building. Your affiant identified Kastner and Faulkner entering the U.S. Capitol
building through the Senate Wing Door at 2:17 p.m. Screenshots from the surveillance footage are
below. The red arrow points to Kastner, and the blue arrow points to Faulkner.

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        Through examining surveillance footage, your affiant identified Kastner, Faulkner and an
unidentified third person wearing a white cowboy hat as they moved through the Crypt of the U.S.
Capitol. In the footage, Faulkner appears to have his hand on Kastner’s shoulder, and Kastner
appears to have his hand on the unidentified individual’s shoulder. Screenshots from the
surveillance footage are below, with a red arrow pointing to Kastner, a blue arrow pointing to
Faulkner, and a green arrow pointing to the unidentified person wearing a white cowboy hat.




       In addition, agents obtained an open source video that shows a crowd inside the Crypt,
pushing toward and through law enforcement officers who are attempting to hold the crowd back
at approximately 2:25 p.m. Kastner and an individual believed to be Faulkner can be seen in the
crowd. The affiant believes this is Faulkner because the individual, while only seen from behind,
has white hair in a ponytail and wears a black jacket, similar to the still photographs immediately
above showing Faulkner inside the Crypt with Kastner and the other unidentified man. Screenshots
from the video are below.




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                        Kastner’s Travel To and From Washington, D.C.

       Agents further reviewed location information from the records Google provided pursuant to
the second search warrant. On January 4, 2021, Kastner traveled from a location in Beavercreek,
Ohio, later determined to be Kastner’s home, to a residence located in Wilmington, Ohio.
Kastner’s Ohio driver’s license records list the Beavercreek, Ohio address on his driver’s license
and registered vehicle. Also, a search of Greene County, Ohio property records for the address in
Beavercreek, Ohio shows that the home is owned by an individual who your affiant believes to be
a family member of Kastner’s, based on their same last name.

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      The Google records also show that on January 4, 2021, after approximately one hour,
Kastner left the Wilmington, Ohio home and traveled to an apartment complex in North Beach,
Maryland, a town about 34 miles from the U.S. Capitol building. Kastner arrived in Maryland at
approximately 5:28 a.m. on January 5, 2021.

      According to the Google records, at approximately 5:20 a.m. on the following day, January
6, 2021, Kastner departed North Beach, Maryland and traveled to Washington, D.C. At about 4:15
p.m. on January 6, 2021, Kastner traveled northwest out of Washington, D.C.

       The Google records further show that at approximately 12:15 a.m. on January 7, 2021,
Kastner once again stopped at the Wilmington, Ohio residence. Kastner remained at the residence
until approximately 8:40 a.m. on January 7, 2021, and then traveled north to his Beavercreek, Ohio
home. Thereafter, at about 11:40 a.m. on January 7, 2021, Kastner traveled south to Blanchester,
Ohio and arrived at an address on Timber Trail. A review of Clinton County, Ohio property
records shows that the owner of this residence on Timber Trail is Luke Faulkner.

       The FBI conducted an interview of a witness (W-2) who lived in the North Beach,
Maryland complex in January of 2021 mentioned above. W-2 stated that two individuals arrived
at W-2’s apartment in the North Beach, Maryland complex on January 5, 2021 and stayed at W-
2’s apartment the night of January 5, 2021. When shown an image of Kastner, W-2 confirmed that
Kastner was one of the two individuals and stated that the other individual was a relative of W-
2’s. On January 6, 2021, Kastner and the second individual notified W-2 that they were traveling
into Washington, D.C. to attend the Trump rally.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jared Kastner and Luke Faulkner violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




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        Your affiant submits there is also probable cause to believe that Jared Kastner and Luke
Faulkner violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                      _________________________________
                                                      Task Force Officer Kyle G. Metz
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of December, 2021.


                                                     _____________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                     UNITED STATES MAGISTRATE JUDGE




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